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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

NIC SALOMON,                                           §
                                                       §
       Plaintiff,                                      §
                                                       §
v.                                                     §     CIVIL ACTION NO.
                                                       §     3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,                        §
LLC, OUTDOOR CHANNEL HOLDINGS,                         §
INC., and PACIFIC NORTHERN CAPITAL LLC,                §
                                                       §
       Defendants.                                     §

  DEFENDANTS KROENKE SPORTS & ENTERTAINMENT, LLC AND OUTDOOR
   CHANNEL HOLDINGS, INC’S MOTION PURSUANT TO FED. R. EVID. 702 TO
 EXCLUDE TESTIMONY OF KEVIN KREITZMAN AND REQUEST FOR HEARING


TO THE HONORABLE BARBARA M. G. LYNN, UNITED STATES DISTRICT COURT
CHIEF JUDGE

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                                                                       November 13, 2018




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TO THE HONORABLE CHIEF JUDGE BARBARA M. LYNN:

       Defendants KROENKE SPORTS & ENTERTAINMENT, LLC and OUTDOOR CHANNEL

HOLDINGS, INC. (collectively, “Defendants”), respectfully move this Court to exclude the

testimony of Plaintiff’s proposed damages expert, Kevin Kreitzman.

                                    I.      INTRODUCTION

       Mr. Kreitzman attempts to calculate damages to which Plaintiff allegedly could be

entitled were any of his dubious claims for relief to succeed. Mr. Kreitzman’s opinions rely on

assumptions and speculation that Plaintiff and PNC would have been able to purchase the Aerial

Camera Business; that Plaintiff would have continued to be employed as President of the

business; and that the business would have performed consistent with projections originally

made under the assumption that the business would be part of KSE, rather than as a standalone

entity—projections that broke dramatically from historical trends and reality itself.         His

assumptions are not only unsupported by the record but are flatly contradicted on point after

point of evidence, each of which he somehow manages to ignore.

       Were these flaws in his opinions simply a matter of credibility, it would be sufficient for

Defendants to expose them at any trial.       But Kreitzman’s opinions are so unreliable, so

speculative, so fundamentally flawed, and so inconsistent with the standards governing federal

litigation that they simply have no place in a court of law. Therefore, his testimony should be

excluded.

                                      II.    ARGUMENT

    A.      RULE 702 REQUIRES THE COURT TO EXCLUDE EXPERT OPINIONS WHICH LACK
            FOUNDATIONAL BASIS AND ARE THEREFORE UNRELIABLE AND UNHELPFUL TO
            THE TRIER OF FACT

       The Federal Rules of Evidence permit an expert witness to offer his opinions only if his

“specialized knowledge will help the trier of fact to understand the evidence or to determine a

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fact in issue[.]” FED. R. EVID. 702(a). The offering party also must show “(1) the testimony is

based upon sufficient facts or data, (2) the testimony is the product of reliable principles and

methods, and (3) the witness has applied the principles and methods reliably to the facts of the

case.” Huss v. Gayden, 571 F.3d 442, 452 (5th Cir. 2009) (quoting Smith v. Goodyear Tire &

Rubber Co., 495 F.3d 224, 227 (5th Cir. 2007)); see also FED. R. EVID. 702(b)–(d).

       To maintain these standards, Rule 702 “imposes a special obligation upon a trial judge”

to ensure that “all expert testimony” is “not only relevant, but reliable.” Kumho Tire Co. v.

Carmichael, 526 U.S. 137, 147 (1999) (quoting Daubert v. Merrell Dow Pharm., Inc., 509 U.S.

579, 589 (1993)). “The overarching goal of Daubert’s gate-keeping requirement” is “to make

certain that an expert, whether basing testimony upon professional studies or personal

experience, employs in the courtroom the same level of intellectual rigor that characterizes the

practice of an expert in the relevant field.” Black v. Food Lion, Inc., 171 F.3d 308, 311 (5th Cir.

1999) (quoting Kumho Tire, 526 U.S. at 152).

       Consistent with this obligation, this Court must make “a preliminary assessment of

whether the reasoning or methodology underlying the testimony is [ ] valid and of whether that

reasoning or methodology properly can be applied to the facts in issue.” Kovaly v. Wal-Mart

Stores Texas, L.L.C., 627 F. App’x 288, 290 (5th Cir. 2015) (quoting Daubert, 509 U.S. at 592–

93). This requires that there be “an adequate ‘fit’ between the data and the opinion proffered.”

Moore v. Ashland Chem. Inc., 151 F.3d 269, 276 (5th Cir. 1998). “Where an expert’s opinion is

based on insufficient information, the analysis is unreliable.”        Paz v. Brush Engineered

Materials, Inc., 555 F.3d 383, 388 (5th Cir. 2009). And “[a]ny step that renders the analysis

unreliable . . . renders the expert testimony inadmissible.”        Id. (quoting Curtis v. M&S

Petroleum, Inc., 174 F.3d 661, 670–71 (5th Cir. 1999)).

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        Indeed, “trial courts are encouraged to exclude such speculative testimony as lacking any

. . . validity.” Moore, 151 F.3d at 279; see also Hathaway v. Bazany, 507 F.3d 312, 318 (5th Cir.

2007) (affirming the district court’s exclusion of expert testimony in part because it was based on

“unsupported conjectures” and “speculative premises”); Hammond v. Coleman Co., 209 F.3d

718, 2000 WL 283165, at *1–2 (5th Cir. 2000) (table) (affirming the district court’s exclusion of

expert testimony as “too speculative to be admissible under Rule 702”); Washington v.

Armstrong World Industries, Inc., 839 F.2d 1121, 1122 (5th Cir. 1988) (affirming district court’s

exclusion of expert testimony that “was pure speculation and fundamentally unreliable”).

      B.   MR. KREITZMAN’S OPINIONS ARE UNRELIABLE AND THEREFORE INADMISSIBLE

        After admittedly assuming liability, and ignoring a host of facts and evidence which

undermine that assumption as well as his opinions,1 Mr. Kreitzman attempts to identify four

different categories of damages to which he claims Plaintiff would be entitled if Plaintiff were to

prevail at trial: lost compensation, benefit of the bargain, disgorgement of profits, and legal

expenses. (See App. 008, Ex. 1-A, Expert Report of Kevin Kreitzman (“Kreitzman Report”), at

2 ¶ 3). As shown below, none of his opinions are “based upon sufficient facts or data.” FED. R.

EVID. 702(b). To the contrary, his opinions as to these categories of damages are premised on

unmitigated speculation, ignore the facts of and evidence in the case, are contradictory between

the “methods” he uses within his report, and are ultimately unhelpful to the trier of fact. They

are unreliable and therefore inadmissible.



1
  Such as the deposition testimony of Pacific Northern Capital (“PNC”) representative Jeff
Holowaty that PNC was not going to fund the entire acquisition price and no other investors
were found, and the Term Sheet did not require Outdoor to exclude the Aerial Camera Business
from the sale of all Outdoor stock. PNC was Plaintiff’s partner in the effort to acquire the Aerial
Camera Business. Not only did Mr. Kreitzman fail even to read Mr. Holowaty’s deposition, he
made no effort to speak with him. (See App. 094, Ex. 1-B, Kreitzman Dep. at 203:7–11).
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                  1.   Mr. Kreitzman’s Opinions On Lost Compensation Are Speculative
                       And Unhelpful To The Finder Of Fact

       Mr. Kreitzman first proffers an “evaluation” (if it can be called that) of Plaintiff’s claim

that he lost compensation in the amount of $1,362,755—wages Mr. Salomon purportedly would

have earned between his termination in May 2014 for poor performance and the date this action

was filed but for Defendants’ conduct. (See App. 009, 022–23 Ex. 1-A, Kreitzman Report at 3 ¶

5, 16–17 ¶ 47). As Mr. Kreitzman freely admits, he performed no independent analysis on this

issue; he simply looked over Plaintiff’s own calculations and gave them his stamp of approval,

declaring that “they appear to be accurate based on the assumptions made therein.” (App. 023,

Ex. 1-A, Kreitzman Report at 17 ¶ 47).

                         a.    Mr. Kreitzman’s Simple Blessing of Plaintiff’s Calculations do
                               not Help the Finder of Fact

       Nothing about this opinion draws from any “scientific, technical, or other specialized

knowledge” that “will help the trier of fact to understand the evidence or determine a fact in

issue.” FED. R. EVID. 702(a). “Expert testimony is unnecessary when the trier of fact is ‘as

capable of comprehending the primary facts and of drawing correct conclusions from them as

are’ expert witnesses.” Carey v. Hercules Ocean Corp., 321 F. App’x 402, 405 (5th Cir. 2009)

(quoting Salem v. U.S. Lines Co., 370 U.S. 31, 35 (1962). In such cases, “the jury [can] adeptly

assess this situation using only their common experience and knowledge.” Peters v. Five Star

Marine Serv., 898 F.2d 448, 450 (5th Cir. 1990). Here, Mr. Kreitzman did nothing more than

sign off on Plaintiff’s own calculations, which consist of adding Plaintiff’s projected annual

salary and bonus and multiplying by time since his termination. Mr. Kreitzman’s opinion adds

nothing of use to the trier of fact; a calculator, not an economist, would suffice here.




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                         b.    Mr. Kreitzman’s Assumption That the Complained-of
                               Transaction Would Have Happened is Purely Speculative

       Indeed, by appealing to an expert for a task as simple as checking Plaintiff’s math,

Plaintiff seemingly hopes to mask glaring concerns over whether using the underlying figures

would be appropriate in the first place. As Mr. Kreitzman notes, “Plaintiff’s claim to this lost

compensation is based on his assertion that but for the conduct of Defendants described in the

Second Amended Complaint, Plaintiff would be in at least the same position as President of the

Aerial Camera Business and would therefore be earning at least the same base salary he was

earning at the time of his termination . . . and at least the same bonus he received for the calendar

year.” (App. 022–23, Ex. 1-A, Kreitzman Report at 16–17 ¶ 47). Mr. Kreitzman accepts those

assumptions unquestioningly (e.g., without even attempting to verify Plaintiff’s suggestion with

PNC representative Jeff Holowaty), and Plaintiff seemingly hopes the presence of an expert

witness willing to do so will encourage the finder of fact to do the same.

       But, as Mr. Kreitzman knows perfectly well, there is no basis for these assumptions.

Even assuming that the transaction would have happened requires not just a leap of faith, but

willful ignorance of the evidence. The Term Sheet PNC and Plaintiff signed expressly states (in

language that Plaintiff and PNC drafted in its entirety) that it is “non-binding,” and that, until

such time as definitive agreements were signed, any party could terminate negotiations for any or

for no reason, and without liability. (See ECF No. 63 at 27.) Furthermore, Mr. Holowaty

testified that PNC did not plan to entirely fund the purchase price of the Aerial Camera Business,

and that while PNC anticipated other investors and discussed the opportunity with some potential

investors, nothing had materialized.     (See App. 143–46, Ex. 1-D, Deposition of Jeff Dean

Holowaty, dated July 17, 2017 at 51:2–52:23; 74:14–20; 111:8–17).                  Plaintiff himself

acknowledged that, while potential investors had been solicited, none had agreed to provide

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funding. (See App. 149, Ex. 1-E, Deposition of Nicolas Salomon, dated May 16, 2018, at 270:5–

21). Plaintiff also testified that he could not work with PNC after March 21, 2013. (See App.

152–53, Ex. 1-F, Deposition of Nicolas Salomon, dated May 17, 2018, at 383:19–384:3). The

evidence in this case shows there were serious obstacles to completing this transaction that

Plaintiff had no ability to overcome. The assumption that the transaction would have occurred

anyway is contrary to the record and speculative at best.

       Mr. Kreitzman never even considered these points. In fact, he never read the depositions

of either Mr. Holowaty or Plaintiff (or any deposition in this matter, other than that of

Defendants’ finance employee Scott Long).          (See App. 064–65, 088–89, 100, Ex. 1-B,

Deposition of Kevin Kreitzman, dated October 25, 2018 (“Kreitzman Dep.”) at 65:1–5; 71:10–

12; 168:24–169:10; 239:9–24). Nor could Mr. Kreitzman identify a single person or entity who

would have invested funds in the Aerial Camera Business so as to enable its acquisition by

Plaintiff and PNC. (See App. 071, Ex. 1-B, Kreitzman Dep. at 90:15–21). But he was aware

that other preliminary steps to the acquisition of the Aerial Camera Business—particularly, the

formation of a new company that could acquire the business—never happened. (See App. 093,

Ex. 1-B, Kreitzman Dep. at 199:12–15). In spite of the glaring gaps in the record and the

abundance of evidence calling his fundamental assumptions into question, he managed to ignore

each doubt: “I wasn’t looking at the liability and was this—was this transaction going to happen

or not. I assumed the transaction would happen.” (See App. 087, Ex. 1-B, Kreitzman Dep. at

155:16–18).    Equating the assumption of liability to mean that the transaction would be

completed is completely misaligned with the methods and procedures by which other experts in

the industry are guided. Assuming liability does not mean there is an assumption of damages.

A causal link must be established and the facts analyzed.

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                        c.   Mr. Kreitzman’s Assumption That Plaintiff Would Have
                             Continued as President of the Aerial Camera Business is Also
                             Speculative

       Likewise, the assumption that Plaintiff would have continued to be employed by the

Aerial Camera Business if the transaction had occurred, and that he therefore lost compensation

as a result of Defendants’ conduct, is purely speculative. Mr. Kreitzman knew there was no

agreement between PNC and Plaintiff on what Plaintiff’s compensation would be if they were

successful in forming a new company and acquiring the Aerial Camera Business. (See App.

068–69, Ex. 1-B, Kreitzman Dep. at 76:22–77:1). And he knew there was no agreement between

PNC and Plaintiff on what Plaintiff’s position would be if they were successful in forming a new

company and acquiring the Aerial Camera Business, and in particular, whether he would be

President of that company as he had been at the Aerial Camera Business. (See App. 067, Ex. 1-

B, Kreitzman Dep. at 75:22–25). Yet he ignored these facts, and instead simply assumed that

Plaintiff “would not have been part of” the company if his new role would have been

“unimportant.” (App. 067, Ex. 1-B, Kreitzman Dep. at 75:1–13). He also assumed that what

Plaintiff “was earning before in a similar position” was “the best estimate” of what he would be

earning “if this transaction had happened and there was a business that Mr. Salomon was a part

of.” (App. 066, Ex. 1-B, Kreitzman Dep. at 74:15–25).

       He assumes too much. Under Plaintiff’s leadership, the Aerial Camera Business suffered

unlevered cash flow losses each year from 2009 through 2013, with average losses of $1.19

million each year. (See App. 106, Ex. 1-C, Rebuttal Expert Report of Karyl M. Van Tassel

(“Van Tassel Report”) at 5, Table 1). Mr. Kreitzman admits that there is no evidence that PNC

would have accepted such poor performance had it continued.          (See App. 085, Ex. 1-B,

Kreitzman Dep. at 147:12–16). And, indeed, he was unaware of any investors that would have


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agreed to support the investment such that there would have been sufficient capital to continue

funding the losses incurred historically under Plaintiff’s leadership. (See App. 086, Ex. 1-B,

Kreitzman Dep. at 150:20–24). Plaintiff’s termination for his poor performance may very well

have happened no matter who owned the company; thus, the assumption that he would have

continued on as President of the Aerial Camera Business is purely speculative.

                        d.   Mr. Kreitzman’s Opinions on Lost Compensation are too
                             Remote and too Speculative to Allow for Recovery

       Notably, Plaintiff does not suggest that the act of terminating him was itself a breach of

Defendants’ contractual obligations.2 In fact, there is no reference to Plaintiff’s termination

anywhere in his Second Amended Complaint; the only breaches alleged relate to the supposed

sale of the Aerial Camera Business to KSE in May 2013 rather than himself and PNC. See

Second Amended Complaint (ECF No. 63) at 15. Plaintiff’s claim is that his termination in May

2014, and therefore lost compensation, is a downstream consequence of this purported sale to

KSE—a claim too remote and too speculative for the damages to be recovered.

       “To be recoverable, consequential damages must be foreseeable and directly traceable to

the wrongful act and result from it.” AZZ Inc. v. Morgan, 462 S.W.3d 284, 289 (Tex. App.

2015) (citing Stuart v. Bayless, 964 S.W.2d 920, 921 (Tex. 1998)).         “Thus, consequential

damages are generally not recoverable unless the parties contemplated at the time they made the

contract that such damages would be a probable result of the breach.” Id. (citing Stuart, 964

S.W.2d at 921). Indeed, “the absence of a causal connection between the alleged breach and the

damages sought will preclude recovery,” and “[a] plaintiff may not recover breach-of-contract

damages if those damages are remote, contingent, speculative, or conjectural.” Id.

2
 If he had, of course, that would have raised a dispute concerning his employment, which would
be subject to the arbitration clause in his Employment Agreement (see ECF No. 240 at 21) and
could not properly be brought before this this Court.
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       Here, the fact that Outdoor did not sell the Aerial Camera Business to Plaintiff and PNC

has little if anything to do with Plaintiff’s eventual termination. Plaintiff continued as President

of the Aerial Camera Business through May 2014, over a year after Outdoor allegedly breached

its contractual obligations to Plaintiff by accepting KSE’s offer to merge with and acquire all

Outdoor stock. (See App. 016, Ex. 1-A, Kreitzman Report at 10 ¶ 29; App. 105, Ex. 1-C, Van

Tassel Report at 4 ¶ 9). And given Plaintiff’s poor performance as President of the Aerial

Camera business, both before and after the KSE acquisition of all Outdoor stock, it is speculative

at best to assume that PNC and any hypothetical investor Plaintiff and PNC might have found to

finance the acquisition and/or fund necessary capital expenditures (though, again, they had

searched and found none) would have tolerated or even been able to afford such continued

performance. Plaintiff’s termination is not traceable to the alleged breach.

       Mr. Kreitzman’s opinions on lost compensation thus depend upon assumptions, including

that PNC and Plaintiff could have found the necessary investors and would have continued to

employ Plaintiff in a similar capacity as he had held while overseeing consecutive years of

million-dollar losses, that are unsupported by the record.          Clearly, the purpose of Mr.

Kreitzman’s opinion is not to lend any kind of expertise to rudimentary calculations that any

layperson could perform, if they had any basis in reality; it is to mask the absence of that basis.

But the gaps in the record on which Mr. Kreitzman builds his opinions on lost compensation are

simply too numerous, too broad, and too speculative to submit his testimony to the jury.

                  2.   Mr. Kreitzman’s Benefit Of The Bargain Opinions Are Based On A
                       Purely Hypothetical Equity Structure And Depend Upon Speculation
                       As To The Aerial Camera Business’ Future Performance And
                       Management

       Next, Mr. Kreitzman attempted to calculate “benefit of the bargain” losses, purportedly

intended “to restore Mr. Salomon as the injured party to the economic position he would have

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been in had the contract been performed, or had it not been interfered with.” (App. 024, Ex. 1-A,

Kreitzman Report at 18 ¶ 49). In this effort, Mr. Kreitzman attempted to measure “the value

[Plaintiff] would have received—meaning the value of the Aerial Camera Business—had the

purchase been completed and had he then become a part owner of the business with PNC.” Id.

       However, “ ‘a hypothetical, speculative bargain that was never struck and would not have

been consummated’ cannot serve as a baseline for benefit-of-the-bargain damages.” Hoffman v.

L & M Arts, 838 F.3d 568, 584 (5th Cir. 2016) (quoting Formosa Plastics Corp. USA v. Presidio

Engineers and Contractors, Inc., 960 S.W.2d 41, 50 (Tex. 1998)). As noted above, and aside

from the Exclusivity provision, the Term Sheet PNC and Plaintiff signed was non-binding; PNC

and Plaintiff had not formed the acquisition entity that was to acquire the Aerial Camera

Business; and, in spite of the efforts by PNC and Plaintiff to find investors who could help fund

the purchase, the entire acquisition price was nowhere to be found. Mr. Kreitzman’s assumption

that the transaction would have occurred as Plaintiff hoped is even less than hypothetical and

speculative, for his assumption is made not merely in the absence of supporting facts, but with

willful disregard of the contrary evidence. This transaction therefore cannot serve as a baseline

for benefit-of-the-bargain damages.

       The problems do not end there. “Damages are not recoverable for loss beyond an amount

that the evidence permits to be established with reasonable certainty.” See Restatement (Second)

of Contracts (1981) § 352. Mr. Kreitzman tries to reach this threshold of “reasonable certainty”

by using three different “scenarios” to first determine a purported value of the Aerial Camera

Business: first, using projections Plaintiff prepared in May 2013 and based on KSE’s ownership

of Outdoor (of which the Aerial Camera Business were subsidiaries); second, using a report

prepared by a financial advisor to Outdoor which Mr. Kreitzman admits he never saw; and third,

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using the purchase price Plaintiff and PNC actually proposed.         (See App. 008, Ex. 1-A,

Kreitzman Report at 2 ¶ 3). He then attempts to translate that value into a benefit Plaintiff

purportedly lost because the transaction did not occur, based largely on an equity structure

Plaintiff proposed but which was never agreed upon by PNC and him.               For the reasons

discussed below, each attempt to calculate value and translate it into benefit badly misses the

mark.

                        a.    Plaintiff’s May 2013 Projections do not Provide a Reasonable
                              Basis for Calculating Damages

        The first “scenario” Mr. Kreitzman considers draws most of his attention in his report.

This scenario uses what he refers to as the “Income Method” of valuing the business, which

“requires that the earning capacity of the subject company be investigated and the resultant

indicator of expected earning capacity, whether it be derived from past, current or projected

earning streams, be discounted at a rate sufficient to satisfy the investment and business risk of

ownership.” (App. 025, Ex. 1-A, Kreitzman Report at 19 ¶ 52). The “earning capacity” Mr.

Kreitzman used for this first scenario was based on a “valuation of the projections made by

management in the normal course of business around the time of the acquisition.” (App. 024,

Ex. 1-A, Kreitzman Report at 18 ¶ 50).

        These revenue projections, to be precise, were projections prepared by Plaintiff himself

in May 2013, while he was still employed at the Aerial Camera Business, and after KSE had

acquired Outdoor. (See App. 022, Ex. 1-A, Kreitzman Report at 16 ¶ 46; App. 076–77, 090, Ex.

1-B, Kreitzman Dep. at 97:17–98:10; 188:15–20). In other words, the projections were related to

how the company might perform as part of Outdoor after the KSE/Outdoor merger, not as a

standalone business, as would have been the case had the complained-of transaction occurred.



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       This fact on its own makes the use of the projections to measure Plaintiff’s purported

damages totally inappropriate.    The projections Mr. Kreitzman uses were made under the

assumption that the Aerial Camera Business would have all the advantages of its affiliation with

the KSE sports empire—including in particular access to the sports leagues that provided the

business with its primary source of revenue, as well as investment capital to fund the business’

operations—which would be absent if the Aerial Camera Business were operating as a

standalone entity.   Indeed, Mr. Kreitzman used these projections specifically because they

“included new investments” and “were consistent with a company that is set up to grow this

business”—yet those investments by definition would have come from KSE, as the new owner

of Outdoor. (App. 091–92, Ex. 1-B, Kreitzman Dep. at 189:1–190:6). Mr. Kreitzman ignored

the fact that Plaintiff and PNC had been unsuccessful in lining up investors for the original

purchase price let alone for growth projections at this level, and instead simply assumed that

there would be some other investors in the future (though he admits that he was unaware of any).

(See App. 070, Ex. 1-B, Kreitzman Dep. at 87:2–6). There is no reason to think the standalone

entity, lacking affiliation with KSE, could have kept pace with the projections designed with

these advantages in mind, if it could have functioned at all. Given the differences between the

company for which the projections were prepared and the hypothetical standalone company for

which Mr. Kreitzman attempted to use the projections, there is no “adequate ‘fit’ between the

data and the opinion proffered.” Moore, 151 F.3d 276.

       Furthermore, the use of a projection in the manner utilized by Mr. Kreitzman to measure

damages is fundamentally problematic. “Courts recognize that there remains an inherent degree

of speculation in such projections,” and permit them for use in calculating damages only “so long




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as there is a reasonable basis for making those projections, such as the business’s past

performance.” Arthur J. Gallagher & Co. v. Babcock, 703 F.3d 284, 295 (5th Cir. 2012).

       There is no such basis here; the revenue projections are grossly inconsistent with the

Aerial Camera Business’ historical performance. As noted above, the Aerial Camera Business

under Plaintiff’s leadership saw unlevered cash flow losses in each of the four years before the

projections were prepared. The company’s gross margins also declined year by year, from a

high of 66.1% in 2007 to 39.3% in 2012; yet the projections predict increasing gross margins

each year, rising from 40.8% in 2013 to 46.2% in 2018. (See App. 114, Ex. 1-C, Van Tassel

report at 13 ¶ 36). Though Mr. Kreitzman acknowledges the relevance of a company’s actual

earnings history in performing a valuation (see App. 025, Ex. 1-A, Kreitzman Report at 19 ¶ 52),

he provides no explanation for why this projection, which breaks dramatically from historical

trends and projects a growth rate that was almost double the historical rate of increase, should be

considered reliable. (See App. 113, Ex. 1-C, Van Tassel Report at 12 ¶ 33).

       The projections also bear little resemblance to how the company actually performed after

the projections were made. The projections forecasted revenues that would increase each year

by no less than 21.7%, and as much as 59.3%, with total annual revenue increasing from $12.7

million in 2013 to $52.2 million in 2018. (See App. 022, Ex. 1-A, Kreitzman Report at 16 Table

6). In reality, revenues would decline year by year, from $12.6 million in 2014 to $11.3 million

in 2017. (See App. 113, Ex. 1-C, Van Tassel Report at 12 Table 2). The projections also

forecast an exponential increase in systems in operation, from 17 in 2013 to 78 in 2018, and a

similar increase in events broadcast from 228 in 2013 to 844 in 2018. (See App. 022, Ex. 1-A,

Kreitzman Report at 16 Table 6). As Mr. Kreitzman admits, however, those increases simply did

not happen. (See App. 082, Ex. 1-B, Kreitzman Dep. at 116:13–25).

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       To any reasonable observer, the fact that the projections forecast revenues orders of

magnitude greater than what the Aerial Camera Business was actually able to accomplish after

KSE’s acquisition of Outdoor would naturally call into question whether those projections are a

reasonable measure of what damages Plaintiff would have actually suffered had he been entitled

to benefit of the bargain damages. Not to Mr. Kreitzman, who gave reality no consideration at

all. (See App. 078–80, Ex. 1-B, Kreitzman Dep. at 106:23–107:11, 107:22–108:3) (“One is

expectations at the time which would have gone to the value at the time and the other is what

happened with KSE owning the company, and we can’t assume that the two things would

converge. . . . I have not evaluated what KSE has done with the Aerial Camera Business.”). By

his own admission, Mr. Kreitzman disregarded any such evidence, ostensibly because it would

not have been relevant to the valuation performed in 2013. (See App. 081, Ex. 1-B, Kreitzman

Dep. at 115:11–21) (financial results of Aerial Camera Business between 2013 and time of Mr.

Kreitzman’s report were “not relevant to the valuation,” and so not relevant to the ultimate

benefit of the bargain damage analysis). But it is no longer 2013. The parties now have

available to them evidence of how KSE actually performed in the following years, and not just

Plaintiff’s prior wild speculation as to how the company might perform. Such evidence would

have been critical to determining Plaintiff’s damages, if any, with “reasonable certainty”

(Restatement of Contracts § 352); yet it was studiously ignored.

       For all these reasons, the projections Mr. Kreitzman used in his first “scenario” for

calculating purported damages is totally unreliable. The projections were created for a company

owned by Outdoor after Outdoor was acquired by KSE, and there is therefore no “fit” between

the data and the opinion on how the company would have performed as a standalone entity.

Moore, 151 F.3d at 276. Nor do the projections mesh with the reality of the company’s historical

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performance, whether before or after the projections were prepared, and Mr. Kreitzman is

unjustified in simply assuming these problems away. See Jacked Up, LLC v. Sara Lee Corp.,

291 F. Supp. 3d 795, 804 (N.D. Tex. 2018), aff'd, No. 3:11-CV-3296-L, 2018 WL 2064126

(N.D. Tex. May 2, 2018) (“[A] company’s financial projections are not automatically reliable,

such that an expert may rely on the projections without further inquiry or explanation. . . . [A]n

expert who relies on work provided by another party to calculate lost profits must show some

basis for believing that party’s projections.”).

       There is no reasonable basis for using these projections, and Mr. Kreitzman’s calculations

in his first “scenario” therefore cannot be presented to the jury.

                         b.    Mr. Kreitzman’s Opinions under his Second and Third
                               Scenarios are Likewise Inadmissible

       The second “scenario” fares no better. This scenario uses the value of the Aerial Camera

Business as determined in a valuation by Lazard Fréres, an investment bank financial advisor to

Outdoor. (See App. 039, Ex. 1-A, Kreitzman Report at 33 ¶ 72). But Mr. Kreitzman admits that

he has never seen the Lazard Report. (See App. 097, Ex. 1-B, Kreitzman Dep. at 232:18–20).

Thus, he could not possibly assess the assumptions made in that report or responsibly rely on that

report to determine the value of the business. See GWTP Investments, L.P. v. SES Americom,

Inc., No. 3:04-CV-1383-L, 2007 WL 7630459, at *10 (N.D. Tex. Aug. 3, 2007) (“it seems

apparent that an expert in the area of valuation may not reasonably rely upon unseen and

unverified data”).

       The third “scenario” simply adopts the maximum purchase price proposed by Plaintiff

and PNC, $4.05 million,3 as the value of the company. (See App. 042–43, Ex. 1-A, Kreitzman


3
 The proposed purchase price actually consists of an offer to pay $3.65 million at closing with
potential litigation and royalty payments. (See App. 116, Ex. 1-C, Van Tassel Report at 15 ¶ 47).
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Report at 36–37 ¶ 77). Tellingly, this figure is less than half of the $9.75 million at which Mr.

Kreitzman values the business using the projections in scenario one, and roughly half the value

estimated under scenario two (i.e., between $7 million and $9 million). (See App. 034, 039 Ex.

1-A, Kreitzman Report at 28 ¶ 68, 33 ¶ 73). Plaintiff himself, it seems, did not think the business

was worth what Mr. Kreitzman supposes—and neither did other bidders who sought to purchase

the Aerial Camera Business in February 2013, both of which proposed to purchase the company

for $4.5 million. (See App. 156–58, Ex. 1-G, Deposition of Thomas D. Allen, dated June 20,

2018 at 43:14–45:8; App. 119, Ex. 1-C, Van Tassel Report at 18 ¶ 57). These, too, were facts

that Mr. Kreitzman should have but did not consider in determining whether his damages

calculations were “reasonably certain.”

                        c.    Mr. Kreitzman’s Calculations of the Benefit of the Bargain are
                              Unreliable and Speculative Under any Value he Assumes for
                              the Aerial Camera Business

       Mr. Kreitzman’s efforts to translate the value of the company into damages Plaintiff

personally suffered remain insurmountably problematic no matter what valuation is used. Under

each scenario, Mr. Kreitzman takes the assumed value of the Aerial Camera Business and

allocates a portion of that value to what he assumes would be Plaintiff’s equity in the business.

(See, e.g., App. 038, 041, 044, Ex. 1-A, Kreitzman Report at 32 ¶ 70, 35 ¶ 75, 38 ¶ 79). As Mr.

Kreitzman knew, however, PNC and Plaintiff never agreed on the equity structure for the

purchase of the Aerial Camera Business, let alone what shares and options might have been

allocated in the future. (See App. 072–73, Ex. 1-B, Kreitzman Dep. at 92:17–93:14). Though

Plaintiff had proposed an equity structure to PNC, Mr. Kreitzman admits this structure could


$4.05 million was the maximum amount of consideration that would have been provided under
the proposal, and Mr. Kreitzman admitted that he knows nothing about whether those two
contingencies ever happened. (See App. 098–99, Ex. 1-B, Kreitzman Dep. at 219:17–220:11).
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have been modified or changed, even assuming some agreement would ultimately be reached.

(See App. 074, Ex. 1-B, Kreitzman Dep. at 94:10–16).

        Mr. Kreitzman’s speculation only deepens when one considers that Plaintiff was going to

contribute nothing to the funding to purchase the company; other than one instance involving

Mr. Kreitzman himself, Mr. Kreitzman could not identify a single instance where a person who

contributed zero cash to the acquisition of an entity (as Plaintiff proposed to do) received eight

percent or more equity in the acquired company (as Mr. Kreitzman assumed Plaintiff would

receive). (See App. 075, Ex. 1-B, Kreitzman Dep. at 96:5–22). Once again, Mr. Kreitzman

simply assumes away this critical gap in the basis for his opinions, accepting without questioning

that Plaintiff’s proposal was “a representation of what [the equity structure] would be.” (See

App. 074, Ex. 1-B, Kreitzman Dep. at 94:10–13). And again, Mr. Kreitzman made no effort to

even speak with former PNC representative Jeff Holowaty to test Plaintiff’s and his speculation

regarding the equity Plaintiff claims he would have received (if any) had PNC and Plaintiff

acquired the Aerial Camera Business. (See App. 094, Ex. 1-B, Kreitzman Dep. at 203:7–11).

        Still more defects in Mr. Kreitzman’s analysis remain. As explained in the report of

Defendants’ rebuttal expert Karyl Van Tassel, the broadly accepted standards governing proper

valuations require consideration of a range of elements—including the subject to be valued, the

interest to be valued, standard of value, and others—which Mr. Kreitzman does not address at

all.   (See App. 109, Ex. 1-C, Van Tassel Report at 8 ¶ 19).          He also gives inadequate

consideration to significant qualitative factors, several of which, including the non-binding

nature of the Term Sheet, the inadequacy of Plaintiff’s management of the company, and the

absence of investments to fund the purchase, Mr. Kreitzman ignores altogether. (See App. 110–

11, Ex. 1-C, Van Tassel Report at 9–10 ¶¶ 22–27). He gives no basis for his calculations of

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capital expenditures and working capital, making it impossible to recalculate those amounts (see

App. 114, Ex. 1-C, Van Tassel Report at 13 ¶ 38); inexplicably removes overhead charges with

no explanation as to how the standalone entity would have covered those same services (id.

¶ 39); fails to adjust his analysis to correct for overstated professional fees which did not reflect

insurance reimbursement (id. ¶ 40); and limits his analysis to “recurring” expenses without

providing information on what “non-recurring” expenses were excluded or why (id. ¶ 41). He

also selects the most favorable tax rates available in his valuation analysis, contrary to the

instruction of the very authorities on which he relies in crafting his report (App. 114–15, Ex. 1-C,

Van Tassel Report at 13–14 ¶ 42); provides no explanation for his use of the small stock

premium or consideration of how an appropriate size premium could have affected his calculated

Weighted Average Cost of Capital (App. 115, Ex. 1-C, Van Tassel Report at 14 ¶ 43); and gives

no consideration to company-specific risk premiums (id. ¶ 44) or other approaches to calculating

or corroborating his Weighted Average Cost of Capital calculations (id. ¶ 45).            Thus, his

valuation techniques are inappropriate and otherwise reliable sources of valuation data were

misapplied.

       In sum, as with the lost compensation damages, Mr. Kreitzman’s proposed benefit of the

bargain damages are based on sheer speculation. Mr. Kreitzman assumes away significant

questions going to the basis of his opinions, including the different nature of the company for

which the projections on which he relies were prepared, the disparity between these projections

and historical trends, the absence of any agreement on what Plaintiff’s equity interests in the

acquisition company would have been, the failure to actually form that acquisition company, and

all evidence showing that the transaction of which he complains was never going to happen.

Because they are based on “insufficient information” (Paz, 555 F.3d at 388), “unsupported

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conjectures” and “speculative premises” (Hathaway, 507 F.3d at 318), and a misapplied

methodology (see Kovaly, 627 F. App’x at 290), Mr. Kreitzman’s opinions are unreliable.

                  3.   Mr. Kreitzman’s Disgorgement of Profit Opinions Are Inadmissible

       Mr. Kreitzman sets forth his opinion on disgorgement of profits in a single paragraph of

his 40+ page report. (See App. 045, Ex. 1-A, Kreitzman Report at 39 ¶ 81). Notwithstanding its

brevity, this is where the vast bulk of the damages Plaintiff demands lie.          In this single

paragraph, Mr. Kreitzman opines that, by considering and accepting an offer from KSE to

acquire all Outdoor stock for $10.25 a share instead of accepting an offer from InterMedia at $8

per share that “would have respected the sale of the Aerial Camera Business,” Outdoor

purportedly gained a benefit of $2.25 per share, or $58.14 million. Id. This amount is over ten

times the rest of all other damages claimed in Mr. Kreitzman’s report combined.

                        a.    Disgorgement of Profits is Unavailable as a Remedy

       The most compelling reason to exclude this opinion is that disgorgement of profits

simply is not available as a remedy under Plaintiff’s theory of liability. Under Texas law,

“[d]isgorgement of profits is not a measure of damages available in a breach of contract action.”

Happy Endings Dog Rescue v. Gregory, 501 S.W.3d 287, 292 (Tex. App.—Corpus Christi 2016,

pet. denied) (quoting Henry v. Masson, 333 S.W.3d 825, 849 (Tex. App.—Houston [1st Dist.]

2010, no pet.)). The purpose of disgorgement is not to make the victim whole but to prevent the

wrongdoer’s enrichment from ill-gotten profits. SEC v. Huffman, 996 F.2d 800, 802 (5th Cir.

1993). By contrast, “the aim of awarding damages” for a breach of contract and related claims

(such as tortious interference with a contract) is “to place the injured party in the same economic

position it would have been in had the contract not been breached”; thus, “Texas courts have

focused solely on compensating the injured contract party.” Marcus, Stowell & Beye Gov’t Sec.,


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Inc. v. Jefferson Inv. Corp., 797 F.2d 227, 231–32 (5th Cir. 1986). “This is true even if making

the plaintiff whole permits the breaching party to retain profits in excess of the plaintiff’s loss.”

Id. at 232.

        Here, Mr. Kreitzman expressly bases his disgorgement of profits opinion on a breach of

contract theory. According to Mr. Kreitzman, “[t]he contract is alleged to have been breached

when Outdoor considered and accepted a competing offer . . . despite the agreement by Outdoor

in the term sheet not to consider such offers.” (App. 045, Ex. 1-A, Kreitzman Report at 39 ¶ 81).

“[B]y accepting competing offers that didn’t respect the deal, the price was bid up from $8.00 [to

$10.25]. . . . [W]hat Outdoor gained by being willing to not honor that transaction was [$]2.25.”

(App. 084, Ex. 1-B, Kreitzman Dep. at 129:1–9). Thus, Mr. Kreitzman’s entire opinion on

disgorgement of profits is predicated on a breach of contract liability theory, for which under

Texas law disgorgement of profits is simply unavailable. By definition, an opinion on damages

that cannot be recovered cannot “help the trier of fact . . . to determine a fact in issue.” FED. R.

EVID. 702(a).

        And while Mr. Kreitzman clearly predicates his disgorgement analysis on a breach of

contract theory, disgorgement of Outdoor’s profits would not be available under any other legal

theory pled in this case either. As noted above, recovery for tortious interference with a contract

is limited to the extent of damages for a breach of contract, and thus does not allow for

disgorgement of profits.     See Marcus, Stowell & Beye Gov’t Sec., Inc., 797 F.2d at 232.

Likewise, claims for interference with prospective economic relations, aiding and abetting a

breach of fiduciary duty, and civil conspiracy require a showing that the plaintiff suffered actual

damage or loss as a result of the defendant’s conduct, thereby limiting damages to the injury

actually suffered and precluding disgorgement of profits as a viable remedy. See, e.g., Cantu v.

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Falcon Int’l Bank, No. 04-17-00467-CV, 2018 WL 1831651, at *3 (Tex. App.—San Antonio

Apr. 18, 2018, no pet.) (“To prevail on a claim for tortious interference with prospective business

relations, the plaintiff must establish that . . . (4) the interference proximately caused the plaintiff

injury; and (5) the plaintiff suffered actual damage or loss as a result.”); In re Wilshire Homes

Houston, Ltd., No. 10-32302-H2, 2013 WL 5162077, at *7 (S.D. Tex. Sept. 11, 2013) (to

succeed on claim for aiding and abetting breach of fiduciary duty, plaintiff must prove “damages

to the plaintiff resulted from the concerted action of the fiduciary and the nonfiduciary”); Bunton

v. Bentley, 176 S.W.3d 1, 15–16 (Tex. App.—Tyler 1999), aff’d in part, rev’d in part on other

grounds 94 S.W.3d 561 (Tex. 2002) (“A finding of civil conspiracy imposes joint and several

liability on all co-conspirators for any actual damages resulting from the acts in furtherance of

the conspiracy. . . . It follows that in order to recover a judgment for civil conspiracy there must

be a finding of damages resulting from that conspiracy.”).4 And because a contract exists

between the parties governing the issue underlying the action (i.e., the Exclusivity provision of

the Term Sheet), there can be no recovery at all under an unjust enrichment theory. See Johnson

v. Wells Fargo Bank, NA, 999 F. Supp. 2d 919, 929 (N.D. Tex. 2014) (a claim for unjust

4
  Even if damages for aiding and abetting a breach of fiduciary duty or civil conspiracy could
give rise to disgorgement, the only profits that could be disgorged are those of the fiduciary—
here, allegedly, PNC. “Liability for conspiracy, aiding and abetting, and vicarious liability is
predicated upon the commission of an underlying tort.” Texas Carpenters Health Ben. Fund v.
Philip Morris, Inc., 21 F. Supp. 2d 664, 676 (E.D. Tex. 1998), aff’d, 199 F.3d 788 (5th Cir.
2000). “Therefore liability is not based on the conspiracy, but on the underlying tort.” In re
Enron Corp. Sec., Derivative & ERISA Litig., 284 F. Supp. 2d 511, 645 (S.D. Tex. 2003).
Indeed, liability under any vicarious-liability claim would merely make the defendant “jointly
and severally liable for the first co-conspirator’s tort liability.” Agar Corp., Inc. v. Electro
Circuits Int’l, LLC, 529 S.W.3d 559, 561 (Tex. App.—Houston [14th Dist.] 2017, no pet.).
Here, the only cause of action pled which can independently give rise to disgorgement of profits
is for breach of fiduciary duty, which is pled against PNC, not KSE or Outdoor. Thus, even if
KSE and Outdoor could be held jointly and severally liable for the breach of PNC’s fiduciary
duties, the extent of the liability, and thus the extent of the permissible disgorgement, would be
PNC’s profits. Notably, Mr. Kreitzman makes no effort to identify PNC’s profits (precisely
because PNC received no such profit); therefore, there is nothing to disgorge.
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enrichment is “unavailable when a valid, express contract governing the subject matter of the

dispute exists”).

       Accordingly, Outdoor’s profits cannot be disgorged under any theory of liability Plaintiff

has presented. Mr. Kreitzman’s opinion on disgorgement thus cannot be salvaged even if he

were to recast it under a different guise.

                         b.    Mr. Kreitzman Also Ignores Important Evidence Undermining
                               his Calculations of Profits to be Disgorged

       Because disgorgement is unavailable as a remedy on any legal theory Plaintiff has pled, it

would have to be excluded no matter how well reasoned it was. But it is far from well-reasoned.

Consisting of only a single paragraph seemingly included as an afterthought, it overlooks

important evidence undermining its reliability. Most importantly, Mr. Kreitzman altogether

ignores that the $8.00 per share offer InterMedia made, and which he uses as the basis of his

calculation of Outdoor’s supposed profits, was not InterMedia’s final offer; it later offered to

purchase the company for $9.75 per share, a transaction Mr. Kreitzman admitted in his

deposition would have “respected the sale” of the Aerial Camera Business to Plaintiff just as the

proposal to purchase for $8.00 per share would have done. (See App. 083, Ex. 1-B, Kreitzman

Dep. at 124:11–14).

       Mr. Kreitzman also provides no analysis of these competing offers or what differences

drove the value by any bidding party, and in particular, he gives no consideration to the extent to

which including the Aerial Camera Business in the sale drove the different prices. That is

because the evidence shows the Aerial Camera Business was not a driving factor at all; the

business generated only a small portion of Outdoor’s total revenues—never more than 16%—

and the Aerial Camera Business was not material to KSE in its offer to merge with Outdoor and

acquire all Outdoor stock. (See App. 161–62, Ex. 1-H, Deposition of James A. Martin, dated

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August 30, 2018 at 85:15–86:5; App. 165–66, Ex. 1-I, Deposition of Roger Werner, dated June

7, 2018 at 68:7–69:4; App. 169–70, Ex. 1-J, Rule 30(b)(6) Deposition of Scott M. Long,

Kroenke Sports & Entertainment, LLC, dated September 5, 2018 at 119:25–120:15; App. 118,

Ex. 1-C, Van Tassel Report at 17 ¶¶ 55–56). Indeed, Plaintiff himself proposed to purchase the

Aerial Camera Business for between $3.65 million and $4.05 million, while others proposed to

purchase it for $4.5 million—less than ten percent of the $58 million Plaintiff now attempts to

disgorge. (See App. 116, Ex. 1-C, Van Tassel Report at 15 ¶ 47). Clearly, not all of these

“profits” could be attributable to the Aerial Camera Business; indeed, given InterMedia’s offer to

purchase Outdoor exclusive of the Aerial Camera Business at $9.75 per share, the vast majority

of these profits cannot be attributed to the Aerial Camera Business. There is simply no link

between claimed wrongdoing and the profits that supposedly resulted.

       Mr. Kreitzman attempts to evade these holes in his theory by insisting that Outdoor could

not have entertained any bids other than InterMedia’s proposal to purchase for $8.00 per share,

even if other offers would not have affected Plaintiff’s hypothetical purchase of the Aerial

Camera Business.     (See App. 084, Ex. 1-B, Kreitzman Dep. at 129:1–9) (“[B]y accepting

competing offers that didn’t respect the deal, the price was bid up from $8.00 to [$10.25]. . . .

[W]hat Outdoor gained by being willing to not honor that transaction was [$2.25].”). Again, this

contention expressly predicates his disgorgement opinion on a breach of contract theory, under

which theory disgorgement is unavailable as a matter of law.

       But this theory also depends upon the discredited proposition that the non-binding Term

Sheet regarding a potential sale of the Aerial Camera Business to Plaintiff and PNC somehow

constrained Outdoor from merging with and selling its stock to KSE at the best available price.

There is absolutely no support for this notion. As Plaintiff’s pleadings make clear, his breach of

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contract claim is based on a purported contractual agreement by Outdoor to forbear from

“agreeing to sell any equity interest in the Aerial Camera Business or any material part of the

assets of the Aerial Camera Business” to any party but Plaintiff and PNC. (See Second

Amended Complaint (ECF No. 63) at 7–8). Nothing in the Term Sheet or Exclusivity provision

prevented Outdoor from merging or selling its stock; indeed, as Mr. Kreitzman acknowledges,

Outdoor had a fiduciary obligation to its shareholders to entertain such offers. (See App. 095–

96, Ex. 1-B, Kreitzman Dep. at 228:25–229:7); see also Capital Parks, Inc. v. S.E. Adver. &

Sales Sys., Inc., 30 F.3d 627, 628–29 (5th Cir. 1994). Yet Mr. Kreitzman makes no effort to

disentangle what portion of the increased bid is attributable to Outdoor’s legitimate efforts to

deal with assets having nothing to do with the Aerial Camera Business or identify profits directly

attributable to the purported breach of the alleged contractual duties to Plaintiff. Instead, with no

support whatsoever, he attributes it all to the breach.

       Mr. Kreitzman’s opinion thus fails on two fronts. Even as a measure of profits resulting

from any allegedly wrongful conduct on the part of Defendants, his opinion fails to distinguish

profits attributable to Outdoor’s efforts to secure the best available price for assets having

nothing to do with the Aerial Camera Business, as was its right and duty, from profits traceable

to any alleged breach of Defendants’ duties to Plaintiff.          But even more fundamentally,

disgorgement of profits is simply unavailable as a remedy under Plaintiff’s theory of the case;

Plaintiff cannot recover these profits even if Mr. Kreitzman could measure them.                 Mr.

Kreitzman’s disgorgement opinion therefore is both unreliable and irrelevant.

                  4.   Legal Expenses

       Finally, Mr. Kreitzman states that he “understand[s] that Plaintiff incurred legal expenses

and other costs paid in connection with the transaction to purchase the Aerial Camera Business


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through May of 2013 of $12,622.” (App. 023, Ex. 1-A, Kreitzman Report at 17 ¶ 48). He

arrives at this figure by simply reciting what Plaintiff previously set forth in response to

Defendants’ Interrogatories, and proclaims, “hav[ing] reviewed the underlying legal bills

associated with this calculation,” that “the number appears to be accurate.” Id.

       Once again, no “scientific, technical, or other specialized knowledge” is used in arriving

at this opinion; all that is required is rudimentary arithmetic. FED. R. EVID. 702(a). The finder of

fact can review bills and tally costs just as easily as Mr. Kreitzman can. Mr. Kreitzman’s

opinion as to legal fees and costs thus does not “help the trier of fact to understand the evidence

or to determine a fact in issue” and therefore should not be admitted. Id.

                                     III.    CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court exclude the so-

called expert testimony of Kevin Kreitzman in its entirety.



Respectfully submitted,

Date: November 13, 2018                       By:    /s/Kevin D. Evans
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                                 CERTIFICATE OF SERVICE

        This is to certify that on this 13th day of November, 2018, I caused the foregoing
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CHANNEL HOLDINGS, INC.’S MOTION PURSUANT TO FED. R. EVID. 702 TO
EXCLUDE TESTIMONY OF KEVIN KREITZMAN AND REQUEST FOR HEARING to
be electronically submitted with the Clerk of Court for the U.S. District Court, Northern District
of Texas, using the electronic case filing system of the Court.

                                                               /s/Kevin D. Evans
                                                               Kevin D. Evans

                              CERTIFICATE OF CONFERENCE

       This is to certify that on the 12th day of November, 2018, I conferred with counsel for

Plaintiff in regard to this Motion. Plaintiff is opposed to the relief requested herein.

                                                               /s/Kevin D. Evans
                                                               Kevin D. Evans




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